                      Case 1:21-mj-00153-RMM Document 1 Filed 01/22/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                    UNITED STATES DISTRICT COURT
                                                                  for the
                                                          District of &ROXPELD

                     United States of America                        )
                                                                     )
                                   v.                                )      Case No.
                                                                     )
               DUSTIN BYRON THOMPSON and                             )
                                                                     )
              ROBERT ANTHONY LYON
                                                                     )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021              in the county of                                in the
                         LQWKH'LVWULFWRI      &ROXPELD , the defendant(s) violated:
             Code Section                   Offense Description                      Defendant(s)


             18 U.S.C. 1752 (a)(1)&(2) - Knowingly Entering or Remaining in         Defendant Dustin Byron Thompson and
             any Restricted Building or Grounds Without Lawful Authority            Defendant Robert Anthony Lyon

             40 U.S.C. 5104(e)(2)(D)&(G) - Violent Entry and Disorderly             Defendant Dustin Byron Thompson and
             Conduct on Capitol Grounds                                             Defendant Robert Anthony Lyon

             18 U.S.C. 641 - Theft of Government Property                           Defendant Dustin Byron Thompson

         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                                 Complainant’s signature

                                                                                          Brian M. Thomas, Special Agent
                                                                                               Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                                                           2021.01.22
Date:             01/22/2021                                                                               12:48:24 -05'00'
                                                                                                 Judge’s signature

City and state:                         :DVKLQJWRQ'&                      Robin M. Meriweather, U.S. Magistrate Judge
                                                                                               Printed name and title
